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 1 JEFFREY M. VUCINICH, ESQ. BAR#: 67906

 2
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     SHERRETT O. WALKER, ESQ. BAR#: 286595
 3   Email: swalker@clappmoroney.com
 4   CLAPP, MORONEY, VUCINICH, BEEMAN and SCHELEY
     A PROFESSIONAL CORPORATION
 5   1111 Bayhill Drive, Suite 300
 6   San Bruno, CA 94066
     (650) 989-5400 (650) 989-5499 FAX
 7

 8
     Specially Appearing for
 9 CITY OF SAN RAMON

10
                              UNITED STATE DISTRICT COURT
11
                       NORTHERN DISTRICT OF CALIFORNIA
12

13
     PHANTOM LS RECORDS, LLC, and               Case No. 3:21-cv-05787-EMC
14
     SUMANTE J HUTCHINSON,
15
                 Plaintiff,
16                                              DECLARATION OF SHERRETT O.
17 vs.                                          WALKER REGARDING
                                                PLAINTIFF’ S REQUEST FOR
18                                              DEFAULT AGAINST THE CITY
   STATE OF CALIFORNIA
19 UNVERSTY OF SANTA CRUZ,                      OF SAN RAMON
   KAISER PERMANENTE, CITY OF
20
   SAN RAMON, REDWOOD CITY,
21 SAN MATEO,                                   Complaint filed: April 28, 2021
22                                              Trial date: Not applicable
                 Defendants.
23

24         I, Sherrett O. Walker, declare;
25

26         1.    I am an attorney at law duly licensed to practice before all courts of the
27 State of California and this District Court and am a senior associate of the law firm of

28 Clapp, Moroney, Vucinich, Beeman & Scheley, attorneys for the City of San Ramon.
                                               1
      DECLARATION OF SHERRETT O. WALKER REGARDING PLAINTIFF’ S REQUEST FOR DEFAULT
                            AGAINST THE CITY OF SAN RAMON
       Case 3:21-cv-05787-EMC Document 49 Filed 04/11/22 Page 2 of 19




 1         2.     I have personal knowledge of the fact stated in this declaration, and if
 2 called as a witness, could competently testify to the facts stated herein.

 3         3.     This Court’s Docket reflects, in Document 26, attached herein as Exhibit
 4 A, that Plaintiff was ordered to file a proof of service as to the City of San Ramon in

 5 15 days.

 6         4.     This Court’s Docket reflects, in Document 28-1, attached herein as
 7 Exhibit B, that Plaintiff served the City of San Ramon, on June 16, 2021, with a

 8 summons, a complaint, and a civil case cover sheet. These documents are related to

 9
     Plaintiff’s claims from the Superior Court of California, County of Contra Costa.
           5.     This Court’s Docket reflects, in Document 15, attached herein as Exhibit
10
     C, Plaintiff filed a First Amended Complaint on August 12, 2021.
11
           6.     This Courts Docket reflects, in Document 33, attached herein as Exhibit
12
     D, that this Court stated, in Civil Minutes from a January 18, 2022, Case Management
13
     Conference stating that my client, The City of San Ramon, had been served with
14
     Plaintiff’s First Amended Complaint.
15
           7.     On or about February 7, 2022, I read Documents 15, 26, 28-1, and 33,
16
     learning of the implications of these events for the first time.
17
           8.     The same day, I confirmed with my client, the City of San Ramon, after
18
     some confusion, that the City had never been served with Plaintiff’s First Amended
19
     Complaint. After a review of these documents, I determined that Plaintiff had only
20 served the City with Superior Court documents concerning his State claims.

21         9.     On the same day, but perhaps the next, counsel for another Defendant
22 informed me that the Court had not determined that City of San Ramon had been

23 served, but had taken Plaintiff’s word as confirmation of such service.

24         10.    On April 6, 2022, I learned that Plaintiff had filed a Request for Default
25 against City of San Ramon, in spite of never serving the City of San Ramon his First

26 Amended Complaint, after being ordered to file a Proof of Service of the same in

27 October 2021.

28         11.    I am informed and believed by this Court’s documents and my client that
                                                  2
      DECLARATION OF SHERRETT O. WALKER REGARDING PLAINTIFF’ S REQUEST FOR DEFAULT
                            AGAINST THE CITY OF SAN RAMON
       Case 3:21-cv-05787-EMC Document 49 Filed 04/11/22 Page 3 of 19




 1 the City of San Ramon had never been served with any pleading in the above-

 2 captioned action, including Plaintiff’s Request for Default against the City of San

 3 Ramon.

 4
           I declare under penalty of perjury under the laws of the United State that the
 5
     foregoing is true and correct and that this declaration is executed on April 11, 2022,
 6
     at San Bruno, California.
 7

 8

 9

10

11
                                                By:
12                                                    SHERRETT O. WALKER, ESQ.
                                                      Specially Appearing for Defendant
13
                                                      CITY OF SAN RAMON
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                                                3
      DECLARATION OF SHERRETT O. WALKER REGARDING PLAINTIFF’ S REQUEST FOR DEFAULT
                            AGAINST THE CITY OF SAN RAMON
Case 3:21-cv-05787-EMC Document 49 Filed 04/11/22 Page 4 of 19




          EXHIBIT A
        Case
        Case3:21-cv-05787-EMC
             3:21-cv-05787-EMC Document
                               Document49
                                        26 Filed
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                            OFFICE OF THE CLERK
                        UNITED STATES DISTRICT COURT
                           Northern District of California

                                       CIVIL MINUTES


 Date: October 14, 2021           Time: 2:27 - 3:01 =             Judge: EDWARD M. CHEN
                                        34 Minutes

 Case No.: 21-cv-05787-EMC        Case Name: Phantom LS Records LLC v. State of
                                  California

Plaintiff, Pro Se: Sumante Hutchinson
Attorney for Defendant: Rhonda Woo

 Deputy Clerk: Angella Meuleman                         Court Reporter: Ruth Ekhaus

                       PROCEEDINGS HELD BY ZOOM WEBINAR

[18] Motion to Dismiss – Held;
Initial Case Management Conference - Not Held


                                          SUMMARY

Parties stated appearances and proffered argument.

Court takes matter under submission. Order to issue.

Plaintiff is to file with the Court proof of service as to City of San Ramon in 15 days. As to the
remaining defendants, Plaintiff is to serve and file proofs of service for each of those defendants
with the Court within 60 days.

Initial Case Management Conference rescheduled as control date to January 18, 2022 at
1:30PM. Joint cmc statement due January 11, 2022.
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          EXHIBIT B
Case
Case 3:21-cv-05787-EMC
     3:21-cv-05787-EMC Document
                       Document 28-1
                                49 Filed
                                     Filed04/11/22
                                           10/29/21 Page
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Case
Case 3:21-cv-05787-EMC
     3:21-cv-05787-EMC Document
                       Document 28-1
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          EXHIBIT C
Case
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      3:21-cv-05787-EMC Document
                         Document49
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 Case3:21-cv-05787-EMC
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 Case3:21-cv-05787-EMC
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           EXHIBIT D
          Case
           Case3:21-cv-05787-EMC
                3:21-cv-05787-EMC Document
                                   Document49
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                                                Filed04/11/22
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                                      OFFICE OF THE CLERK
                              UNITED STATES DISTRICT COURT
                                  Northern District of California

                                         CIVIL MINUTES
    Date: January 18, 2022             Time: 1:39-1:49                Judge: EDWARD M. CHEN
                                             10 Minutes

    Case No.: 21-cv-05787-EMC          Case Name: Phantom LS Records LLC et al. v. State of
                                       California, et al.
Pro Se Plaintiff: Sumante Hutchinson
Attorney for Defendant: Rhonda Woo (City of Redwood City)
    Deputy Clerk: Vicky Ayala                             Court Reporter: Belle Ball
                                          PROCEEDINGS
Initial Case Management Conference - held
                                            SUMMARY
Parties stated appearances.
City of San Ramon has been served, but there has been no response. Kaiser Permanente refused
service. Plaintiff does not wish to pursue case against University of California, Santa Cruz and
State of California. Plaintiff advised that if he does not retain counsel, he should consult with
pro se help desk for advice regarding effectuating service and responding to motions. Plaintiff
also advised of Court’s handbook for self-represented litigants available on the Court’s website.
Discussions regarding ADR are currently premature.
City of Redwood City plans to file a Motion for Judgment on the Pleadings for failure to comply
with the California Tort Claims Act. The motion will be filed in approximately three weeks. If
the motion is denied, party will consent to settlement discussions with a Magistrate Judge.
Plaintiff will seek representation.
Court Set a Status Conference for March 22, 2022, at 2:30 p.m. Joint Status Report due by
March 15, 2022.
.
